                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:16-cr-74-MOC

JERITON LAVAR CURRY,                                  )
                                                      )
                      Petitioner,                     )
                                                      )
vs.                                                   )             ORDER
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                  Respondent.                         )
_______________________________________               )


       THIS MATTER is before the Court on Petitioner’s pro se Motion to Transfer, (Doc. No.

376), in which he complains about the conditions of his incarceration at Coleman I USP in

Sumterville, Florida, and he seeks transfer from the prison.

       This Court lacks the authority to order the BOP to transfer Defendant to another prison. To

the extent that Petitioner is complaining about conditions of confinement, he must file a petition,

under 28 U.S.C. § 2241, in the district court where he is incarcerated. Therefore, Petitioner’s

motion will be DISMISSED without prejudice to file an action in the district court where he is

incarcerated.




                                    Signed: September 27, 2021




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